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CIVIL. DOCKET CONTINUATION SHEET

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| COCKET NO. .

IN RE: ESTATE OF FERDINAND E. MARCOS! HUMAN RIGHTS LITIGATION
: PAGE Z2lor

DATE NRL PROCEEDINGS

| May 3 6327 PROOF of Claim Form For Summary Execution Victims by Rosalio Limse by Maria Limse
6328 . PROOF of Claim Form For Summary Execution Victims by Fausto Orbeso by Elena
Orbeso

6329 PROOF of Claim Form For Summary Execution Victims by Luciana Ocasla by Sally
Ocasla Daclag
/ 6330 | PROOF of. Claim Form For Summary Execution Victims by Romeo §. Palabras by Catalinp
i A. Palabras, Sr.
6331 PROOF of Claim Form For Summary Execution Victims by Gumaida Dalanda by Sandato
Sultan
6332 PROOF of Claim Form For Summary Execution Victims by Abedin Guiaman by Normiah
M. Guiaman
6333 PROOF of Claim Form For Summary Execution Victims by Zainon Guiaman by Normiah
M. Guiaman
6334 PROOF of Claim Form For Summary Execution Victims by Dakungan Guiaman by Normiah
i M. Guiaman
6335 PROOF of Claim Form For Summary Execution Victims by Dumato Supal, Edsrail Sapal
by Akmad Cumato
- 6336 | PROOF of Claim Form For Summary Execution Victims by Kamar Manggialani by Unson

: A. Demaguil
. 6337 | PROOF of Claim Form For Summary Execution Victims by Guiabel Madali by Tong Madali

» 6338 | PROOF of Claim Form For Summary Execution Victims by Moka Madali by Tong Madali

| 6339) PROOF of Claim Form For Summary Execution Victims by Kuliok Bacana by Hadji Usop
Bacana

/ 6340 PROOF of Claim Form For Summary Execution Victims by Tomas Ubadan by Angela

: Ubadan

6341 | PROOF of Claim Form For Summary Execution Victims by Nestor G. Velasco by Loreta
| G. Velasco

PROOF of Claim Form For Summary Execution Victims by Maria Antonia Terega

: : : "Nanette" V. Vytiaco by Antonio V. Vitiaco

| 6343 PROOF of Claim Form For Summary Execution Victims by Jesus C. Nunsal by Romeo

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! : Nungal
: 6344 | PROOF of Claim Form For Summary Execution Victims by Milagrosa C. Nayaja by

' Wilfredo Karingue Naga @
6345 PROOF of Claim Form For Summary Execution Victims by Pinamanfon Madali by Asi

: : Kusain

| 6346 | PROOF of Claim Form For Summary Execution Victims by Anta Mayato by Betol Mayato
| 6347 | PROOF of Claim Form For Summary Execution Victims by Rodelfo De la Cruz Taisan

| by Leonardo Taisan

; 6348 | PROOF of Claim Form For Summary Execution Victims by Graciano Valencia by Dorotia
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| See Page 222

| Valencia

| 6349 | proor of Claim Form For Summary Execution Victims by Alfredo S. Limboy by Estelitp
B. Limboy

/ 6350 | PROOF of Claim Form For Summary Execution Victime by Lilia Coronel

| 6351) PROOF of Claim Form For Summary Execution Victims by Diograsias L. Dauran, Jr. by
| Eliza V. Dauran

6352 | PROOF of Claim Form For Summary Execution Victims by Antonio A. Miradora by Elpedii
Miradora

6353 | PROOF of Claim Form For Summary Execution Victims by Abella Segundo by Babacyao

i ! Benito

| 6354 | PROOF of Claim Form For Summary Execution Victims by Abdullah Ali by Mohamedin

| Ali

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF | OFFPENDANT

© IN RE: ESTATE OF FERDINAND EF, MARCOS HUMAN RIGHTS LITIGATION

| DOCKET NO MDL 840

| PAGE2220F PAGES
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| DATE NRL) PROCEEDINGS

i999 :
May 3 !6355 PROOF of Claim Form For Summary Execution Victims by Munib Ali by Mohamedin Ali

16356 (PROOF of Claim Form For Summary Execution Victims by Ronnie Ali by Mohamedin Ali
16357 | PROOF of Claim Form For Summary Execution Victims by Datu Ali B,. Sabang by Abel
| | Sabang Balimbingan :
16358 PROOF of Claim Form For Summary Execution Victims by Akmad Balimbingan by Abel
| Sabang Balimbingan
16359 /PROOF of Claim Form For Summary Execution Victims by Roman Orbeso by Elena Orbeso |
Se 6360 | PROOF of Claim Form For Summary Execution Victims by Apolinar Sumagdon by Panchite
|
I

i S$. Armadilla
16361 , PROOF of Claim Form For Summary Execution Victims by Dominggo Obinguar by Danilo

| Obinguar

16362 PROOF of Claim Form For Summary Execution Victims bv Melagros Jabulin Mabanan by
| Alfredo J, Mabanan

6363 | PROOF of Claim Form For Summary Execution Victims by Eustaquio Cantos by Moises

} Cantos
16364 | /PROOF of Claim Form For Summary Execution Victims by Fernando Pajaroja by Apolinay
i i Pajaroja ;
6365 i PROOF of Claim Form For Summary Execution Victims by Amado Oblino by Lucina
| Cabamgunoy
6366 | PROOF of Claim Form For Summary Execution Victims by Silverio Coccya by Marita
| C. Labong
|6367 |PROOF of Claim Form For Summary Execution Victims by Segordina Edusma by Anastacia
Edusma
6368 |PROOF of Claim Form For Summary Execution Victims by Julian A. Abe juela by Felix
A. Abejuela
6369 |PROOF of Claim Form For Summary Execution Victims by Anastacio Labong
6370 /PROOF of Claim Form For Summary Execution Victims by Ambrosio Colarte by Flora T.
Colarte
6371 (PROOF of Claim Form For Summary Execution Victims by Romio Abacial by Remedios
Abacial
)6372 | PROOF of Claim Form For Summary Execution Victims by Yolanda Pacon by Erlinda P.
| Cabrillas
» 6373 PROOF of Claim Form For Summary Execution Victims by Virgelio Delmonte by Zosimo
\ Deimonte
(6374 PROOF of Claim Form For Summary Execution Victims by Alfredo Delmonte by Zosimo
| Delmonte
6375 |PROOF of Claim Form For Summary Execution Victims by Cecelio Delmonte by Zosimo
| Delmonte
6376 |PROOF of Claim Form For Summary Execution Victims by Lucia E. Sabandija by Ceriacg
Sabandi ja
6377 |PROOF of Claim Form For Summary Execution Victims by Pablo Cabigayan by Angeles
Cabigayan
6378 iPROOF of Claim Form For Summary Execution Victims by Pamfilo Dacayanan by Maria
Dacayanan
6379 |PROOF of Claim Form For Summary Execution Victims by Aurelio D. Magpantay by

Macario B. Magpantay
6380 | PROOF of Claim Form For Summary Execution Victims by

D. Ayudan
6381 |PROOF of Claim Form For Summary Execution Victims by Ronilo Tumbaga Evangelio by

Paulina T. Evangelio

Paterno L. Ayudan by Florendd

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TN RE: ESTATE

CIVIL DOCKET CONTINUATION SHEET

ENDANT

OF FERDINAND E. MARCOS) HUMAN RIGHTS LITIGATION

DOCKET NO. MDL 840 |

» PAGE 2230F. PAGES

DATE NR PROCEEDINGS
| 1899 : .
| May 3 | 6382 PROOF of Claim Form For Summary Execution Victims by Parefrio Pa-Ano by Zenaida
| Pa~Ano
| 63831) PROOF of Claim Form For Summary Execution Victims by Yolando Rabuya by Ruel
Rabuya
| 6384 PROOF of Claim Form For Summary Execution Victims by Constantino G. Genol by
Eduardo A. Genol
6385 PROOF of Claim Form For Summary Execution Victims by Pikan Tumampal by Bukak
Tumampal
6386 PROOF of Claim Form For Summary Execution Victims by Bukong Tumampal by Bukak
Tumampal
/ 6387 PROOF of Claim Form For Summary Execution Victims by Basaludin Tumampal by Bukak
Tumampa 1
. 6388 PROOF of Claim Form For Summary Execution Victims by Anisha Tumampal by Bukak
Tumampa 1
6389 PROOF of Claim Form For Summary Execution Victims by Basco Naga by Baincra Naga
Salipada~Ampang
6390 PROOF of Claim Form For Summary Execution Victims by Rodolfo Pangawas by Augusting
i P. Manilog and Rosalinda P. Evangelista
6391, PROOF of Claim Form For Summary Execution Victims by Kahar Kasan by Abdillah
Kasan
/ 6392 | PROOF of Claim Form For Summary Execution Victims by Francisco Labargan by Alicia
| Labargan Rio
i 6393 | PROOF of Claim Form For Summary Execution Victims by Doroteo Gargoles, Jr. by
i Lonie Tiugson
| 6394 | PROOF of Claim Form For Summary Execution Victims by Robert Briosos Sayre by
Emilia S. Sayre
| 6395 } PROOF of Claim Form For Summary Execution Victims by Rolly Tungol by Purita Pacot
6396 | PROOF of Claim Form For Summary Execution Victims by Olympio Laipan Manayon by
Lourdes G. Manayou
6397, PROOF of Claim Form For Summary Execution Victims by Rexive Sebello by Consolacioh
i : Lotino
| 6398 | PROOF of Claim Form For Summary Execution Victims by Jaime B. Bernal by Romeo B.
: Bernal
| 6399 | PROOF of Claim Form For Summary Execution Victims by Rogelio A. Quijano by Carmen
A. Quijano
| 6400 | PROOF of Claim Form For Summary Execution Victims by Antonio Gravino by Norberta
| P. Gravino
| 6401 | PROOF of Claim Form For Summary Execution Victims by Diosdado Tacalan by Marci ling
Tacalan
| 6402 | PROOF of Claim Forn For Summary Execution Victims by Jaime Ferraze by Asuncion
Ferraze
/ 6403 | PROOF of Claim Form For Summary Execution Victims by Jaime E. Gabandija by
| Remedios Abacial
6404 | PROOF of Claim Form For Summary Execution Victims by Regino Sintos and Joselito
| Sintos by Carolina Sintos
| 6405 | PROOF of Claim Form For Summary Execution Victims by Ramon Panibayo by Inocencio
Panibayo
6406 | PROOF of Claim Form For Summary Execution Victims by Alfredo Nagallo by Consolaci
Nagallo
6407 | PROOF of Claim Form For Summary Execution Victims by Ondo Eva by Loreta Eva
6408 | PROOF of Claim Form For Summary Execution Victims by Rufino Coralde by Gaudencia
Coraide
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CIVIL DOCKET CONTINUATION SHEET

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PLAINTIFF

CEFENDCANT

IN RE: ESTATE OF FERDINAND E. MARCOS [HUMAN RIGHTS LITIGATION
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Angelina Sasarita Gitio

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DATE NR. |
1999 :
May 3 6409 PROOF of Claim Form For Summary Execution Victims by Roger C. Cardeno
6410! PROOF of Claim Form For Summary Execution Victims by Visitacion C. Roxas
| 6411; PROOF of Clain Form For Summary Execution Victims by Pedro Maghanoy
i 6412) PROOF of Claim Form For Summary Execution Victims by Gregoria D. Pacat
6413) PROOF of Claim Form For Summary Execution Victims by Bonifacio Villarta by
Gerarda Villarta
| 6414 PROOF of Claim Form For Summary Execution Victims by Marcelo Banga by Dionisio
i Gumapac
6415; PROOF of Claim Form For Summary Execution Victims by Fortonato Edusma by
i Anastacia Edusma
| 6416) PROOF of Claim Form For Summary Execution Victims by Hernance Gemarino by
Nelly Gemarino
_ 6417) PROOF of Glaim Form For Summary Execution Victims by Santiago Escarpe and Manuila
| Escarpe by Helen A. Nedula
| 6418) PROOF of Claim Form For Summary Execution Victims by Epifanio Posas by Rodrigo
Posas
6419, PROOF of Claim Form For Summary Execution Victims by Jimmy Inson
| 6420) PROOF of Claim Form For Summary Execution Victims by Donato Compano
6421) PROOF of Claim Form For Summary Execution Victims by Tullio Favali Pime by
: Peter Geremia
| 6422) PROOF of Claim Form For Summary Execution Victims by Fernando Moncano
6423; PROOF of Claim Form For Summary Execution Victims by Isidro Hernane, Sr. by
Isidro Hernane, Jr.
6424) PROOF of Claim Form For Summary Execution Victims by Leticia Escanilla by
Leteria Escanilla
6425 | PROOF of Claim Form For Summary Execution Victims by Renato Rabuya by Ruel
Rabuya
6426/| PROOF of Claim Form For Summary Execution Victims by Efram Aspacio by Remedios
Aspacio
| 64271 PROOF of Claim Form For Summary Execution Victims by Marites Rabuya by Ruel
| Rabuya
| 6428) PROOF of Claim Form For Summary Execution Victims by Urbin Rabuya by Ruel Rabuya
| 6429] PROOF of Claim Form For Summary Execution Victims by Juanita Rabuya by Ruel
Rabuya
| 6430| PROOF of Claim Form For Summary Execution Victims by Allan Rabuya by Ruel Rabuya
6431) PROOF of Claim Form For Summary Execution Victims by Conrado N. Mutabil by
Lluzviminda Nogales
6432; PROOF of Claim Form For Summary Execution Victims by Protacio Rabuya by Ruel
Rabuya
6433; PROOF of Claim Form For Summary Execution Victims by Fabian B. Legaspi by
Leticia L. Legaspi
6434; PROOF of Claim Form For Summary Execution Victims by Angelina Moneca
6435 | PROOF of Claim Form For Summary Execution Victims by Carmelino Nobleza by
Mercedita Nobleza
6436 | PROOF of Claim Form For Summary Execution Victims by Virgelio Tedio by Felipa
Tedio
6437 PROOF of Claim Form For Summary Execution Victims by Bucacong Kusain by Asi
Kusain
6438 | PROOF of Claim Form For Summary Execution Victins by Bua Bucacong by Asi Kusain
6439 PROOF of Claim Form For Summary Execution Victims by Porfino Pa~Ano by Zenaida
Pa-Ano
6440) PROOF of Claim Form For Summary Execution Victims by Dioadado Sasarita, Sr. by

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
- | DOCKETNG. MDL 840.
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
PAGE 2250F____. PAGES
DATE NR. PROCEEDINGS
1989
May 3 6441 PROOF of Claim Form For Summary Execution Victims by Violeta Pagaran
6442 PROOF of Claim Form For Summary Execution Victims by Roberto Flores Felipe by
Magdalena Felipe Pagala
/ 6443 PROOF of Claim Form For Summary Execution Victims by Gergia Labong Dacles by
/ Eniga Labong
6444 PROOF of Claim Form For Summary Execution Victims by Antonio Rivera and Pepe Cali
| by Dolores R. Calim
6445 PROOF of Claim Form For Summary Execution Victims by Alejo Flores Felipe by
Magdalena Felipe Pagala
6446 PROOF of Claim Form For Summary Execution Victims by Felimon M. Petilla, Jr. by
: Felino M. Petilla
| 6447 PROOF of Claim Form For Summary Execution Victims by Magsaysay 3. Salemsamen by
: Makalma Salemsamen
: 6448 PROOF of Claim Form For Summary Execution Victims by Atanacia 3. Perez by Delfina
P. Robelles
6449 PROOF of Claim Form For Summary Execution Victims by Gil P. Mipana by Nestor P.
Mipana
6450 PROOF of Claim Form For Summary Execution Victims by Blua M. Biang by Gontong
Biang
©6451 PROOF of Claim Form For Summary Execution Victims by Purificacion A. Pedro by
Maria A. Pedro
6452 | PROOF of Claim Form For Summary Execution Victims by Ignacio Nalupano by Maria
: Madre T. Nalupano
| 6453 | PROOF of Claim Form For Summary Execution Victims by Fermine Nalupano by Maria
Madre T. Nalupane
6454 | PROOF of Claim Form For Summary Execution Victims by Vicente Edusma by Edeta
Edusma
6455 PROOF of Claim Form For Summary Execution Victims by Shaabudin Mamalinta by Hadji
Slim Mamalinta
6456 | PROOF of Claim Form For Summary Execution Victims by Norodim Mamalinta by Had ji
Slim Mamalinta
6457 | PROOF cf Claim Form For Summary Execution Victims by Hadji Samad Mamalinta by
Hadji Slim Mamalinta
6458 . PROOF of Claim Form For Summary Execution Victims by Ronillo Noel M. Clarete by
Gregoria M. Clarete
6459 | PROOF of Claim Form For Summary Execution Victims by Pedro Francisco by Socarro
Coronel Francisco
6460 | PROOF of Claim Form For Summary Execution Victims by Orlando B. Villarde by Jesus
B. Villarde
6461 | PROOF of Claim Form For Summary Execution Victims by Jesus Ocasla by Rita Gcasla
6462 | PROOF of Claim Form For Summary Execution Victims by Lelito E. Neri by Visminda
V. Neri
6463 | PROOF of Claim Form For Summary Execution Victims by Gerardo C. Pacardo by
Magdalina C. Pacardo
6464 | PROOF of Claim Form For Summary Execution Victims by Marciano Jacinto by Edeliza
R, Jacinto
6465 | PROOF of Claim Form For Summary Execution Victims by Nestor S. Consultado by
Francisco A. Belecario, Jr.
6466 | PROOF of Claim Form For Summary Execution Victims by Alberto M. Ganacias by
Chirlita G. Ganacias
= See Page 226
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFFS CEFENDANT
| DOCKET NO. MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION i
| PAGE 226 OF _ PAGES
DATE | NR FROCEEDINGS
1999 ~—
May 3 6467 PROOF of Claim Form For Summary Execution Victims by Rogeiio Milado by Minda 0.

Milado

6468 PROOF of Claim Form For Summary Execution Victims by Ricksan Esteban

6469 PROOF of Claim Form For Summary Execution Victims by Rodolfo Gozalo by Florante
Gozalo

6470 | PROOF of Claim Form For Summary Execution Victims by Medardo Yago by Elias Yago
6471 |PROOF of Claim Form For Summary Execution Victims by Severino Flores Felipe by

@ Magdalena Felipe Pagala

6472 {STATEMENT by Marco G. Palo

6473 {STATEMENT by Salvacion Acuna

6474 (STATEMENT by Cotabato Human Rights Violations Victims
6475 ‘STATEMENT by Various Claimants

6476 (STATEMENT by Esmeraldo Batacan y Tolentino

6477 (STATEMENT by Bert Cacayan

4 6478 i PROOF of Claim Form For Torture Victims by Erneste Cayabyab

6479 [PROOF of Claim Form For Torture Victims by Kaui Kateg

6480 PROOF of Claim Form For Torture Victims by Teodolo Cara Malolot

6481 |PROOF of Claim Form For Torture Victims by Remia L. Tocama

6482 PROOF of Claim Form For Torture Victims by Artemio Quibra, Sr.

6483 |PROOF of Claim Form For Torture Victims by Gilcerio Lolos, Sr.

6484 |PROOF of Claim Form For Torture Victims by Felix Surbano

6485 |PROOF of Claim Form For Torture Victims by Romeo Umpad

6486 {PROOF of Claim Form For Torture Victims by Luisa R. Calvo

6487 (PROOF of Claim Form For Torture Victims by Eugene D. Balansag

6488 |PROOF of Claim Form For Torture Victims by Baltazara Hajas

6489 |PROOF of Claim Form For Torture Victims by Carlito Estonante

6490 [PROOF of Claim Form For Torture Victims by Leonardo Pura #

6491 (PROOF of Claim Form Por Torture Victims by Diogenes Gidoc

6492 |PROOF of Claim Form For Torture Victims by Conrado Muhal, Deceased by Nomy T. Muhdi

6493 |PROOF of Claim Form For Torture Victims by Antonio F. Lacaba

» 6494 (PROOF of Claim Form For Torture Victims by Robert F. Roldan
6495 |PROOF of Claim Form For Torture Victims by Rogelio Del Castillo, Deceased by Alicia

Del Castillo

6496 |PROOF of Claim Form For Torture Victims by Pablo R. Posadas, Jr.

6497 |PROOF of Claim Form For Torture Victims by Pelagia E. Pedrozo

6498 [PROOF of Claim Form For Torture Victims by Fernando M. Lloren

6499 |PROOF of Claim Form For Torture Victims by Marcelino B. Javonilloe

6500 |PROOF of Claim Form For Torture Victims by Sofronio Tacaisan

6501 |PROOF of Claim Form For Torture Victims by Canuta Bruno

6502 (PROOF of Claim Form For Torture Victims by Alfonso T. Inte

6503 |PROOF of Claim Form For Torture Victims by Gloria Esquerra~Melencio

6504 |PROOF of Claim Form For Torture Victims by Nemesio R. Hagos, Sr.

6505 PROOF of Claim Form For Torture Victims by Claro Lansang

6506 /PROOF of Claim Form For Torture Victims by Serafin Baldres

6507 |PROOF of Claim Form For Torture Victims by Caredad Baldres

6508 PROOF of Claim Form For Torture Victims by Edmundo Ginga

6509 (PROOF of Claim Form For Torture Victims by Apolinario Lumansoc

6510 |PROOF of Claim Form For Torture Victims by Isabel Diaz Lumansoc

6511 |PROOF of Claim Form For Torture Victims by Victoria Lumansoc Gigo

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Civil, DOCKET CONTINUATION SHEET
FLAINTIFF : DEFENDANT :
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION a
| : (pacee2/or PAGES
DATE NR: PROCEEDINGS
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May 4 6512 PROOF of Claim Form For Torture Victims by Oscar Llagas
6513 PROOF of Claim Form For Torture Victims by Leopoldo Garido, Jr.
' 6514 | PROOF of Claim Form For Torture Victims by Wenceslao Lacsa
6515 PROOF of Claim Form For Torture Victims by Manuel F. Garra
6516 PROOF of Claim Form For Torture Victims by Algier G. Givero
| 6517 PROOF of Glaim Form For Torture Victims by Pedro Gobis
| 6518 | PROOF of Claim Form For Torture Victims by Uldarico Gabitan
6519 | PROOF of Claim Form For Torture Victims by Fema Buiza Gocoyo
6520 PROOF of Claim Form For Torture Victims by Solomon Gocoyo
6521 PROOF of Claim Form For Torture Victims by Sotera G. Espela
- 6522 : PROOF of Claim Form For Torture Victims by Fema Buiza Gocoyo
6523 | PROOF of Claim Form For Torture Victims by Ricardo D.G. Soro, Jr.
6524 PROOF of Claim Form For Torture Victims by Christopher G. Presores
6525 PROOF of Claim Form For Torture Victims by Herbert C. Mendez
(6526 PROOF of Claim Form For Torture Victims by Elmer B. Bajaro
/6527 | PROOF of Claim Form For Torture Victims by Victoriano Malingui
6528 | PROOF of Claim Form For Torture Victims by Angel Grano
6529 PROOF of Claim Form For Torture Victims by Carlito Estomanto
6530 | PROOF of Claim Form For Torture Victims by Virginia D. Cabangunay
6531 PROOF of Claim Form For Torture Victims by Carmelito S$. Sereno by Jovencio C.
Flores
6532 | PROOF of Claim Form For Torture Victims by Melchor Hebres
6533 | PROOF of Claim Form For Torture Victims by Porperio A. Emoria
6534 | PROOF of Claim Form For Torture Victims by Roque Diaz, Deceased by Jovencio
Diaquino
6535 ; PROOF of Claim Form For Torture Victims by Dominador G. Dansacala, Sr., Deceased
by Antonia L. Dansacala
6536 | PROOF of Claim Form For Torture Victims by Loreto Caracal Buhay lungsod
6537 PROOF of Claim Form For Torture Victims by Virginia F. Abonal
6538 | PROOF of Claim Form For Torture Victims by Francisco S$. Biosa
6539 | PROOF of Claim Form For Torture Victims by Melvin G. Givero
6540 | PROOF of Claim Form For Torture Victims by Fidel A. Gapuen é

6541 PROOF of Claim Form For Torture Victims by Jose Gutlay

6542 | PROOF of Claim Form For Torture Victims by Eddie N. Sederia

6543 PROOF of Claim Form For Torture Victims by Eduardo Diaz

6544 | PROOF of Claim Form For Torture Victims by Bonifacio Baldres

6545 | PROOF of Claim Form For Torture Victims by Salvador Guban

6546 | PROOF of Claim Form For Torture Victims by Veronica G. Gacias

6547 | PROOF of Claim Form For Torture Victims by Jacinto M. Monrano

6548 | PROOF of Claim Form For Torture Victims by Eufronio A. Ortiz, Jr.
6549 | PROOF of Claim Form For Torture Victims by Melchor B. Hebres

6550 | PROOF of Claim Form For Torture Victims by Melico Lagrimas Morales
6551 | PROOF of Claim Form For Torture Victims by Felix C. Marca

6552 | PROOF of Claim Form For Torture Victims by Arsenio G. Catabay

6553 | PROOF of Claim Form For Torture Victims by Vevencio BD. Babatla
6554 | PROOF of Claim Form For Torture Victims by Roberto S. Serrano

6555 | PROOF of Claim Form For Torture Victims by Angelina Orcullo Geonzon
6556 | PROOF of Claim Form For Torture Victims by Roger Romana

6557 | PROOF of Claim Form For Torture Victims by Fructoso S. Gabane

6558 | PROOF of Claim Form For Torture Victims by Juanita Juntilla

6559 | PROOF of Claim Form For Torture Victims by Rustico Monte, Sr.

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF OEFENDANT
@ | DOCKET NG. MDL 840
IN RE: ESTATE OF FERDENAND E. MARCOS 'HUMAN RIGHTS LITIGATION !
| | PAGE 2280r paces
DATE NR. PROCEEDINGS
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May 4 6560. PROOF of Claim Form For Torture Victims by Esmeraldo T. Batacan
6561) PROOF of Claim Form For Torture Victims by Gloria Surbano
6562) PROOF of Claim Form For Torture Victims by Remedios E. Pura
6563 PROOF of Claim Form For Torture Victims by Felix Surbana .
6564 PROOF of Claim Form For Torture Victims by Lucio D. Esternon, Deceased by
Rogelio D. Esternon
6565, PROOF of Claim Form For Torture Victims by Enerio G. Pandi
| 6566) PROOF of Claim Form For Torture Victims by Nilo B. Tabudlong
| 6567, PROOF of Claim Form For Torture Victims by Porferio Masola, Jr.
6568; PROOF of Claim Form For Torture Victims by Eddie Almonte, Deceased by Pastor
Almonte
6569 PROOF of Claim Form For Torture Victims by Enocentes M. Barranda, Deceased by
Espectacion Austria Barranda
6570, PROOF of Claim Form For Torture Victims by Noriel G. Parane, Deceased by Rosita
A. Parane
6571; PROOF of Claim Form For Terture Victims by Paquito Lunzaga
6572) PROOF of Claim Form For Torture Victims by Jose Jamar, Deceased by Ernesto M. Ad
6573) PROOF of Claim Form For Torture Victims by Lucas B. Incinada
6574) PROOF of Claim Form For Torture Victims by Vicente R. Dagan
6575! PROOF of Claim Form For Torture Victims by Wellio A. Nalam, Deceased by Virginia
@ C. Nalam
6576} PROOF of Claim Form For Torture Victims by Nestor Sarmiento
65771 PROOF of Claim Form For Torture Victims by Jimmy Arenas
6578, PROOF of Claim Form For Torture Victims by Ernesto A. Garlitas
6579 PROOF of Claim Form For Torture Victims by Fe Deveras Lopez, Deceased by Wilfrede
Lopez :
6580, PROOF of Claim Form For Torture Victims by Isabelo B. Suminod, Deceased by
Soledadria Suminod
6581] PROOF of Claim Form For Torture Victims by Paulino C. Picsoy
6582; PROOF of Claim Form For Torture Victims by Remedios B. Santos
6583; PROOF of Claim Form For Torture Victims by Teodorico C. Ramirez
6584; PROOF of Claim Form For Torture Victims by Robert A. Naraval
© 6585} PROOF of Claim Form For Torture Victims by Bonifacio C. Aquino
6586) PROOF of Claim Form For Torture Victims by Chareto Hapon Germedia, Deceased by |
Placido Germedia
6587| PROOF of Claim Form For Torture Victims by Placido Germedia, Jr.
6588; PROOF of Claim Form For Tortere Victims by Cresencio Olili, Deceased by Erlinda
Olili Noga
6589; PROOF of Claim Form For Torture Victims by Leopoldo Elizalde Fenellere, Deceased
by Wenefreda E. Fenellere
6590) PROOF of Claim Form For Torture Victims by Honorio Pelejo, Deceased by Melecia
P. Pelejo
6591; PROOF of Claim Form For Torture Victims by Moises Q. Bruno, Deceased by Perlita
P. Bruno
6592| PROOF of Claim Form For Torture Victims by Antonio F. Lacaba
6593, PROOF of Claim Form For Torture Victims by Paloje Araceli Flores
6594) PROOF of Claim Form For Torture Victims by Claro Lansang
6595| PROOF of Claim Form For Torture Victims by Bonifacio Olili, Deceased by Crisanta
c. O1ili
6596; PROOF of Claim Form For Torture Victims by Jose Hinagpisan, Deceased by Salvaciog
Hinagpisan
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CIVIL DOCKET CONTINUATION SHEET

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IN RE: ESTATE OF FERDINAND &. MARCOS HUMAN RIGHTS LITIGATION :
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DATE NR, PROCEEDINGS
Tagg =ooSs a oe rien ne Smet nd
May 4 6597 PROOF of Claim Form Por Torture Victims by Ruben Surbano
6598 PROOF of Claim Form For Torture Victims by Fernando Hubilla
6599 PROOF of Claim Form For Torture Victims by George Maliuat, Deceased by Gertrudes
: F. Maliuatc
6600 | PROOF of Claim Form For Torture Victims by Domingo Surbano
6602 PROOF of Claim Form For Torture Victims by Baltazara Hajas
6602 | PROOF of Claim Form For Torture Victims by Roland M. Leosala
6603 PROOF of Claim Form For Torture Victims by Alberto 0. Cahoy
6604 PROOF of Claim Form For Torture Victims by Fidel E. Diaz
6605 PROOF of Claim Form For Torture Victims by Alfredo Hinagpisan-Renon
6606 PROOF of Claim Form For Torture Victims by Manuel G. Givero
6607 PROOF of Claim Form For Torture Victims by Benedicto R. Batay-An, Deceased by
Dolores A. Batay-An
6608 PROOF of Claim Form For Torture Victims by Arnold V. Seneres
6609 PROOF of Claim Form For Torture Victims by Manuel M. Manisan
/ 6610) PROOF of Claim Form For Torture Victims by Rogelio Vilela Arienda
6611. PROOF of Claim Form For Torture Victims by William Alemana, Sr.
6612 | PROOF of Claim Form For Torture Victims by Rogelio M. Hubilla
6613 PROOF of Claim Form For Torture Victims by Albaro M. Urbina
6614 PROOF of Claim Form For Torture Victims by Jose M. Bognot, Sr., Deceased by
Marita Bognot Cabilangan
6615 | PROOF of Claim Form For Torture Victims by Laurenta Bergido
6616 | PROOF of Claim Form For Disappearance Victims by Mautil Bombolon by Sagani D.
Dimananal
6617 | PROOF of Claim Form For Disappearance Victims by Rodolfo Duruin by Benjamin
Duruin
6618 | PROOF of Claim Form For Disappearance Victims by Lucia Andayao by Ganano Andayao
6619 | PROOF of Claim Form For Disappearance Victims by Jesus Balsamo by Felix B. Nicart
| 6620; PROOF of Claim Form For Disappearance Victims by Gerardo Esir by Yolando Esir
| 6621) PROOF of Claim Form For Disappearance Victims by Leonardo Pura E.
6622 PROOF of Claim Form For Disappearance Victims by Remedios E. Pura
6623 | PROOF of Claim Form For Disappearance Victims by Abundio Presores by Eusobio
Presores
6624: PROOF of Claim Form For Disappearance Victims by Lucio BD. Esternon by Rogelio D.
: Esternon
| 6625 | PROOF of Claim Form For Disappearance Victims by Relis Donalo by Melanio M.
; Saganay
6626 | PROOF of Claim Form For Disappearance Victims by Engracio D. Centino by Jury
Centino
6627 | PROOF of Claim Form For Disappearance Victims by Jimmy Donsalis by Reveeca L.
Bonsalis
6628 | PROOF of Claim Form For Disappearance Victims by Alberto Pancho by Erlito B.
Pancho
6629 | PROOF of Claim Form For Disappearance Victims by Ela Bombolon by Sagani D.
Dimananal
6630 | PROOF of Claim Form For Disappearance Victims by Maisoba Bombolon by Sagani D.
Dimananal
6631 | PROOF of Claim Form For Disappearance Victims by Ogto Wedo by Jocelyn Francisco
6632 | PROOF of Claim Form For Disappearance Victims by Calixto I. Emoria
6633 , PROOF of Claim Form For Disappearance Victims by Salama Bombolon by Sagani DB.
Dimananal
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFE DEFENDANT
| pocket no MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS |HUMAN RIGHTS LITIGATION eee
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May & 6634 PROOF of Claim Form For Disappearance Victims by George L. Acbayan by Blecila
Acbayan-Caermare

6635 PROOF of Claim Form For Disappearance Victims by Juaniteo Gabiana by Delfin Gabian
6636 PROOF of Claim Form For Disappearance Victims by Fedrito D. GAbiana by Emelia

D. Gabiana

6637 | PROOF of Claim Form For Disappearance Victims by Danilo E. Bico by Rufina E. Bice
6638 PROOF of Claim Form For Disappearance Victims by Mantato Manedcia by Manyao

Manedcia
© 6639 | PROOF of Claim Form For Disappearance Victims by Prudencio C. Dacutanan by
Virginia D, Cabangunay
6640! PROOF of Claim Form For Disappearance Victims by Atanacio Ovilla by Leofilo D.
Obelle, Sr.
6641 PROOF of Claim Form For Disappearance Victims by Vicente U. Pielago by Rosalina
M . Pielago
6642) PROOF of Claim Form For Disappearance Victims by Leonardo Ginga by Letecia Ginga
6643) PROOF of Claim Form For Disappearance Victims by Napoleon Estrabela by Deema G.
Garbida
6644 | PROOF of Claim Form For Disappearance Victims by Teodegario Gallon, Jr. by Santia:
Gallon
6645 | PROOF of Claim Form For Disappearance Victims by Tonting Lao by Zuhuria D. Lao
6646 | PROOF of Claim Form For Disappearance Victims by Sirafen Gagbo by Eutequio Gagbo
6647) PROOF of Claim Form For Disappearance Victims by Kulot Bambolon by Sagani D.
Dimananal
6648 | PROOF of Claim Form For Disappearance Victims by Lindo Ega by Bebing Robert Ega
6649 | PROOF of Claim Form For Disappearance Victims by Gloria BD. Centino by Helen D.
Centino
6650 | PROOF of Claim Form For Disappearance Victims by Enrique Docto by Lourdes V. DBoctk
6651 PROOF of Claim Form For Disappearance Victims by Eguas Marato by Imelda M. Saganal
6652) PROOF of Claim Form For Disappearance Victims by Bodo Andayao by Ganong A. Anday
6653, PROOF of Claim Form For Disappearance Victims by Teofilo Lanzaderas by Basilisa

Lanzaderas
6654: PROOF of Claim Form For Summary Execution Victims by Hermetes A. Manriquez, Jr. bh

uo

6 Teresa G. Manriquez
6655 | PROOF of Claim Form For Summary Execution Victims by Epitalco Morao by Marcelina
N. Marao
6656 | PROOF of Claim Form For Summary Execution Victims by Olimpio Gabandija by Nilda
S. Calinao
6657 | PROOF of Claim Form For Summary Execution Victims by Zosimo Ocinar
6658 | PROOF of Claim Form For Summary Execution Victims by Lydia Lonalono
6659 PROOF of Claim Form For Summary Execution Victims by Romeo D. Calle by Victoria

D. Calle

6660 | PROOF of Claim Form For Summary Execution Victims by Carmelito Pekit by Tnocencia
Baco Pekit

6661 | PROOF of Claim Form For Summary Execution Victims by Backvan Gani by Haron M.

Gani
6662 | PROOF of Claim Form For Summary Execution Victims by Moven Sanday Olilisan

Sanday by Lamay Sanday Sandusagan
6663 | PROOF of Claim Form For Summary Execution Victims by Pablito A. Zamora by Editha

D. Zamora
6664 | PROOF of Claim Form For Summary Execution Victims by Lorenzo Lansang by Claro

Lansang

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IN RE: ESTATE OF FERDINAND E. MARCOS) HUMAN RIGHTS LITIGATION pocket no, MDL 840

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May 4 / 6665 | PROOF of Claim Form For Summary Execution Victims by Constantine H. GacwAng, Jr.
: by Froctusa H. Gac-Ang
6666 PROOF of Claim Form For Summary Execution Victims by Dominador H. Gac~Ang by
Froctusa H. Gac-Ang /
°6667 PROOF of Claim Form For Summary Execution Victims by Robertson A. Ignacio by

Avelino H. Ignacio
6668 PROOF of Claim Form For Summary Execution Victims by Herman Muleta by Magdalena

i Muleta

6669 | PROOF of Claim Form For Summary Execution Victims by Narciso Sangrio by Modesto

| Sangrio

6670 PROOF of Claim Form For Summary Execution Victims by Leoncio A, Ellaga by Benigno
A. Ellega

6671 | PROOF of Claim Form For Summary Execution Victims by Jaime Sungeaiang by Wamalaida

D. Sungcealang
6672 PROOF of Claim Form For Summary Execution Victims by Renarion Flores by Rufina

Penero
6673 PROOF of Claim Form For Summary Execution Victims by Wilfredo Flores by Rufina
Penero
6674 PROOF of Claim Form For Summary Execution Victims by Necacio Renit by Merly
Pancho-Renit

(6675 | PROOF of Claim Form For Summary Execution Victims by Apolonio Quines, Sr. by

: Baltazar Quines

6676 | PROOF of Claim Form For Summary Execution Victims by Lauriano G. Zapiter by
Lilia Z. Grayda

16677 | PROOF of Claim Form For Summary Execution Victims by Mantalo Manedsin by Manyao
L. Manedsin

6678 PROOF of Claim Form For Summary Execution Victims by Lucresia A. Abing

6679 | PROGF of Claim Form For Summary Execution Victims by Jacinto Galayon by Dominga

Galayon

6680 | PROOF of Claim Form For Summary Execution Victims by Ponciano Gac~Ang by Tecia

: Gac-Ang

6681 PROOF of Claim Form For Summary Execution Victims by Gogofredo Gac-Ang by Tecia
Gac~Ang

6682 | PROOF of Claim Form For Summary Execution Victims by Rodulfo Yamba by Perpetua
A. Yamba

6683 | PROOF of Claim Form For Summary Execution Victims by Manolo M. Lausin by Lydia V.

| Lausin

6684 | PROOF of Claim Form For Summary Execution Victims by James B. Jacela by Claudio
Q. Jacela

6685 | PROOF of Claim Form For Summary Execution Victims by Dupaleg Mama by Lidtuas
Mama

6686 | PROOF of Claim Form For Summary Execution Victims by Abdul Pinagunay by Maisalam
Pinagunay

6687 | PROOF of Claim Form For Summary Execution Victims by Butata Lumawan by Pedro
Lumawan

6688 | PROOF of Claim Form For Summary Execution Victims by Florencio J. Delos Santos

by Maria Delos Santes
6689 | PROOF of Claim Form For Summary Execution Victims by Marciano V. Bulan by Marcelina
C. Bulan

6690 | PROOF of Claim Form For Summary Execution Victims by Juanito Lagbo by Lagso Erene
6691 |PROOF of Claim Form For Summary Execution Victims by Cesar C. De Larosa by Francig

De Larosa

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CiviL. DOCKET CONTINUATION SHEET
DEFENDANT

PLAINTIFF
@ IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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| PAGE 23206 PAGES

DATE NR. | PROCEEDINGS

1999
May 4 |: 6692, PROOF cf Claim Form For Summary Execution Victims by Lucio DB. Esternon by Rogelic

: BD. Esternon

6695 PROOF of Claim Form For Summary Execution Victims by Menico Jaromay by Maria
Jaromay

i 6694 | PROOF of Claim Form For Summary Execution Victims by Crecencia M. Rebato by

Danilo M. Rebate
| 6695) PROOF of Claim Form For Summary Execution Victims by Gregorio A. Mabini by Manue)

i Librada C. Dacutanan

: | Mabini

@ | 6696 | PROOF of Claim Form For Summary Execution Victims by Marianito C. Dacutanan by
6697 | PROOF of Claim Form For Summary Execution Victims by Placido N. Pepito by Erneste
:

i C, Pepito
6698 | PROOF of Claim Form For Summary Execution Victims by Cristuto Ciano by Felisa T.

Ciano

6699 PROOF of Claim Form For Summary Execution Victims by Dionisio Ciano by Felisa T.
: : Ciano
6700 PROOF of Claim Form For Summary Execution Victims by Mario A. Ligue by Delia L.
Layson

6701) PROOF of Claim Form For Summary Execution Victims by Veodolo Fermanes Fruto

6702 | PROOF of Claim Form For Summary Execution Victims by Rofine G. Gubat by Tarpin

©} F. Gubat
6703 PROOF of Claim Form For Summary Execution Victims by Genaro Godala Fruto by

Martin C. Fruto
6704 PROOF of Claim Form For Summary Execution Victims by Julius U. Pielago by Rosalin.

| M. Pielago
| 6705 PROOF of Claim Form For Summary Execution Victims by Polite L. Maladia by Mandapa:
Maladia
6706 | PROOF of Claim Form For Summary Execution Victims by Abundio A. Ellaga by Benigna
A. Ellaga

6707 | PROOF of Claim Form For Summary Execution Victims by Rodolfo B. Qanes by Nina

| | Calvelo Oanes
© 6708} PROOF of Claim Form For Summary Execution Victims by Marcial Baluyot Quelbio by

Carmelinda Q. Baluyot

6709 | PROOF of Claim Form For Summary Execution Victims by Paterno Godalla, Sr.
6710 | PROOF of Claim Form For Summary Execution Victims by Domingo Baluyot by Carmelinds
Quelbio Baluyot

6711; PROOF of Claim Form For Summary Execution Victims by Arthuro Gac~Ang by Catalina
Gac-Ang

6712 | PROOF of Claim Form For Summary Execution Victims by Sergio M. Ycot by Lucia P.
Yeot

6713) PROOF of Claim Form For Summary Execution Victime by Edgardo Salili by Jovy

Salili

6714 | PROOF of Claim Form For Summary Execution Victims by Pio Rivero by Marcelina R.
Rivero

6715 | PROOF of Claim Form For Summary Execution Victims by Romeo Baguing by Sangpet
Baguing

6716 | PROOF of Claim Form For Summary Execution Victims by Lilia Godalla

6717 | PROOF of Claim Form For Summary Execution Victims by Jose Gojar by Natividad
Gojar Gealone

6718 | PROOF of Claim Form For Summary Execution Victims by Virgilio Dizon by Esmenia

Dizon

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CIVIL DOCKET CONTINUATION SHEET
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| May 4 '6719 PROOF of Claim Form For Summary Execution Victims by Fermin Lumingkit Nacion by
i : Norma Parojenog Nacion
6720 | PROOF of Claim Form For Summary Execution Victims by Salvador Gubat by Selde G,
: : Gubat . |
| 6721 PROOF of Claim Form For Summary Execution Victims by Ramon F. Fruto by Rosario
Fruto Chavez |
6722 | PROOF of Claim Form For Summary Execution Victims by Henry GC. Genobela by Imelda
| Genobela <q
|6723 | PROOF of Claim Form For Summary Execution Victims by Ruben C. Sunga by Luz $s. |
| Santos /
| 26724 PROOF of Claim Form For Summary Execution Victims by Alex Gargales by Levita |
| | Garsales
| | 6725 | PROOF of Claim Form For Summary Execution Victims by Odon Bontigao
6726 PROOF of Claim Form For Summary Execution Victims by Angel Bibal by Carolina
: Bibal
| 6727 | PROOF of Claim Form For Summary Execution Victims by Ely Loquias by Genovevo
i : : Lodquias
6728 PROOF of Claim Form For Summary Execution Victims by Leon Bontigaa by Odon
Bontigao
(6729 | PROOF of Claim Form For Summary Execution Victims by Benito Venus Loria by Apoling
/ I B. Loria
6730 | STATEMENT by Susana Impreso
| 6731 | STATEMENT by Andres Millar
(6732 | STATEMENT by Severino U. Condonar
(6733 | STATEMENT by Simeon P. BDebuque
.6734 | STATEMENT by Andres P. Ricamara
/6735 | STATEMENT by Lucas Incinada
J
5 16736 | PROOF of Claim Form For Torture Victims by Victoria U. De Guia

(6737 | PROOF of Claim Form For Torture Victims by Antonio B. Bernate, Sr., Deceased by
/ Gaudencia C. Bernate

(6738 | PROOF of Claim Form For Torture Victims by Roberto M. Ador
16739 PROOF of Claim Form For Torture Victims by Rodrigo Pascua é
6740 (PROOF of Claim Form For Torture Victims by Nelia Ariston
(6741 (PROOF cf Claim Form For Torture Victims by Pablo M. Aquino, Sr., Deceased by Coragon
i 8. Aquino

(6742 |PROOF of Claim Form For Torture Victims by Juana E. Encinas

16743 (PROOF of Claim Form For Torture Victims by Antonio B. Acosta

[6744 /PROOF of Claim Form For Torture Victims by Renato Dalon

[6745 |PROOF of Claim Form For Torture Victims by Ernesto M. Luneta

16746 /PROOF of Claim Form Por Torture Victims by Alfredo Bagasala

6747 |PROOF of Claim Form For Torture Victims by Francisco R. Ramirez

6748 [PROOF of Claim Form For Torture Victims by Perfecto Sadira Sumibay

6749 |PROOF of Claim Form For Torture Victims by Vinancio M. Fernandez, Deceased by
| Anastacia C. Fernandez

6750 |PROOF of Claim Form For Torture Victims by Dennia L. Maningo

6751 (PROOF of Claim Form For Terture Victims by Rosalia C. Racoma

6752 |PROOF of Claim Form For Torture Victims by Gregorio Ariston

6753 (PROOF of Claim Form For Torture Victims by Roger Fiolino

6754 |PROOF of Claim Form For Torture Victims by Bonifacio Hebres

6755 (PROOF of Claim Form For Torture Victims by Serafen Relanes

6756 |PROOF of Claim Form For Torture Victims by Salvador G. Co

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CIVIL, DOCKET CONTINUATION SHEET
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION | DOCKET NO.
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May 5 6757) PROOF of Claim Form For Torture Victims by Danilo B. Valenciado

| 6758; PROOF of Claim Form For Torture Victims by Vicente Rebato

| 6759 PROOF of Claim Form For Torture Victims by Adelo E. Mendez
6760! PROOF of Claim Form For Torture Victims by Julieta Jalipa Solivio
6761, PROOF of Claim Form For Torture Victims by Caridad E. Roxas
| 6762) PROOF of Claim Form For Torture Victims by Dominador Astocia, Sr.
6763; PROOF of Claim Form For Yorture Victims by Jacinto A. Bancale
} , 6764) PROOF of Claim Form For Torture Victims by Virgilio G. Presores

| 6765; PROOF of Claim Form For Torture Victims by Saluntay Ido

6766, PROOF of Claim Form For Torture Victims by William D. Yalung
6767: PROOF of Claim Form For Torture Victims by Santos M. Sabilala
6768) PROOF of Claim Form For Torture Victims by Roque B. Apura
6769 PROOF of Claim Form For Torture Victims by Maximino Requero Cordero
6770: PROOF of Claim Form For Torture Victims by Nimiano Zabala
/ 6771 PROOF of Claim Form For Torture Victims by Florepe Girero
| 6772) PROOF of Claim Form For Torture Victims by Lude Esil
6773 PROOF of Claim Form For Torture Victims by Linda S. Posadas
| 6774) PROOF of Claim Form For Torture Victims by Sabis Malayang
6775 | PROOF of Claim Form For Torture Victims by Fredo C. Magaillano
| 6776) PROOF of Claim Form For Torture Victims by Angelina Orcullo Geonzon
6777; PROOF of Claim Form For Disappearance Victims by Elesa ¢. Tisoy
6778] PROOF of Claim Form For Disappearance Victims by Jacinto P. Cabello
6779 PROOF of Claim Form For Disappearance Victims by Buna Abdulrahman by Noria
Abdulrahman
6780! PROOF of Claim Form For Disappearance Victims by Usman Dumpao by James Dumpao
6781) PROOF of Claim Form For Disappearance Victims by Alexander M. Castro by Imelda
L. Castro
6782) PROOF of Claim Form For Disappearance Victims by Ustadz Malusiya Kamag by Asidza
Bukay Kamag
6783 | PROOF of Claim Form For Disappearance Victims by Melba Aristor by Zenaida Aristor
6784 | PROOF of Claim Form For Disappearance Victims by Ranolfo Dulva by Florenda Dulva

6785 PROOF of Claim Form For Disappearance Victims by Mastura Abdulrahman by Noria
@ Abdulrahman

6786 | PROOF of Claim Form For Disappearance Victims by James L. Arevalo

6787 | PROOF of Claim Form For Summary Execution Victims by Emiliano Ortizo by Lorena
Ortize

6788 | PROOF of Claim Form For Summary Execution Victims by Kamensa Lundungen by Salmen
Lundungen

6789} PROOF of Claim Form For Summary Execution Victims by Francisco Lacro by Segundina
Lacro

6790 | PROOF of Claim Form For Summary Execution Victims by Juan L. Encio by Monica
Encio

6791! PROOF of Claim Form For Summary Execution Victims by Hernani A. Bustillos by

Angelina Bustillos
6792 PROOF cf Claim Form For Summary Execution Victims by Wahab Taha by Kesal Wahab

Darod
6793) PROOF of Claim Form For Summary Execution Victims by Cresencio A. Velasco by

4énthony S. Velasco
6794 | PROOF of Claim Form For Summary Execution Victims by Samuel C. Bulusan by

Herminia Bulusan
6795 | PROOF of Claim Form For Summary Execution Victims by Eduardo R. Ancheta by

Patronilla Ancheta

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CEFENDANT

OF FERDINAND E. MARCOS| HUMAN RIGHTS LITIGATION

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PROCEEDINGS

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DATE
1999
May 5 | PROOF of Claim Form For Summary Execution Victims by Jaime Blando
"PROOF of Claim Form For Summary Execution Victims by Ariano Sumampong by Clemente
5. Sarombe
' PROOF of Claim Form For Summary Execution Victims by Romeo Efondo by Rebecca &
Salvascion Efondo
| PROOF of Claim Form For Summary Execution Victims by Francisco Yaket by Jenny Saket
PROOF of Claim Form For Summary Execution Victims by Dionicio Somera by Victorino
Somera
PROOF of Claim Form For Summary Execution Victims by Leonita $. Laurente by
: Genera S. Laurente
“PROOF of Claim Form For Summary Execution Victims by Salvador Curpog by Belen
Curpoz
/ PROOF of Claim Form For Summary Execution Victims by Had ji Omad Omar by Hadji
Sadica Abdul Rahmen
: PROOF of Claim Form For Summary Execution Victims by Datu Salunsam Silongan by
: Bai Puwa Silongan
PROOF of Claim Form For Summary Execution Victims by Magsaysay Talib by Zubaina
Pananggilan-Talib
| PROOF of Claim Form For Summary Execution Victims by Duton Guiamel by Magandingan
Guiame I
PROOF of Claim Form For Summary Execution Victims by Mutin Guiamel by Magandingan
| Guiamel
' PROOF of Claim Form For Summary Execution Victims by Ali Darod by Kesal Wahab Daréd
| PROOF of Claim Form For Summary Execution Victims by Sangkala Wahab by Kesal
Wahab Darod
/PROOF of Claim Form For Summary Execution Victims by Ramon F. Bontigao by Gorgonid
G. Bontigac
PROOF of Claim Form For Summary Execution Victims by Luis N. Ramirez by Leonora
N, Ramirez
: PROOF of Claim Form For Summary Execution Victims by Juan G. Fruto
: PROOF of Claim Form For Summary Execution Victims by Tomas P. Paustor by Remedios
i T. Paustor
i |PROOF of Claim Form For Summary Execution Victims by Macacuna Guiapar by Tonina
' D. Guiapar
: /PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Fernando R. dela Cruz by Milagros M. dela Cruz
i | STATEMENT by Damasa Q. Puntay
6 6817 PROOF of Claim Form For Torture Victims by Anselma R. Lovenario
/6818 | PROOF of Claim Form For Torture Victims by Jorge E. Evan
“PROOF of Claim Form For Torture Victims by Ronaldo Gonzales De Luna
'6820 | PROOF of Claim Form For Torture Victims by Romulo Castro Ocampo
(6821 PROOF of Claim Form For Torture Victims by Vicente $. Estandarte
(6822 | PROOF of Claim Form For Torture Victims by Mauro Torejas, Sr.
(6823 PROOF of Claim Form For Torture Victims by Nonite T. Flores
,6824 | PROOF of Claim Form For Torture Victims by Melita G. Banaga, Deceased by Juanita
/ B. Fuentes
6825 PROOF of Claim Form For Torture Victims by Emperatres B. Hebres
(6826 PROOF of Claim Form For Torture Victims by Juanita B. Fuentes
;6827 PROOF of Claim Form For Torture Victims by Rafael s. Quintela, Jr.
| of Claim Form For Torture Victims by Pacios Salvador

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: CG. Cabangunay
| 6830: PROOF of Claim Form For Torture Victims by Efren Cavitana Camposano
6831 PROOF of Claim Form For Torture Victims by Leonicio S. Labada
6832! PROOF of Claim Form For Torture Victims by Teodorico L. Abarcar
| 6833 PROOF of Claim Form For Torture Victims by Gabriel Malayang
: 6834 | PROOF of Claim Form For Torture Victims by Edgardo Saromines
6835 | PROOF of Claim Form For Torture Victims by Luis A. Daquigan, Deceased by Zenaida
l L. Daquigan, Ronjie L. Daquigan
6836 | PROOF of Claim Form For Torture Victims by Venancio 0. Lariosa
| 6837) PROOF of Claim Form For Torture Victims by Elvira ¢C. Quintela
6838 | PROOF of Claim Form For forture Victims by Ramil M. Petugo, Deceased by Romeo
T. Petugo, Sr.
| 6839 PROOF of Claim Form For Torture Victims by Gallarpo Qdavat Elardo, Deceased by
: Arsenia L. Elardo
6840 | PROOF of Claim Form For Torture Victims by Santiago P. Alonzo
_ 6841 PROOF of Claim Form For Torture Victims by Norberto A. Murillo
| 6842; PROOF of Claim Form For Torture Victims by Alberto A. Rosete
6843 | PROOF of Claim Ferm For Torture Victims by Ranmil Lumabi Echanis
6844 | PROOF of Claim Form For Disappearance Victims by Rudolfo Dacle by Elizabeth
i Bacaycay
6845 | PROOF of Claim Form For Disappearance Victims by Pedring Jabaan by Francisco
i Gabiana
6846 | PROOF of Claim Form For Disappearance Victims by Delfin 0. Moslares by Gertrudes
Sugalan De Moslares
PROOF of Claim Form For Disappearance Victims by Ranmil Lumabi Echanis
' 6848 | PROOF of Claim Form For Summary Execution Victims by Ferdinand 0. Sapeal by
Alfredo C. Sapael
PROOF of Claim Form For Summary Execution Victims by Alfredo Sapsal
6850 PROOF of Claim Form For Summary Execution Victims by Candelario C. Revillas by
Cesaria 0. Revillas
6851, PROOF of Claim Form For Summary Execution Victims by Elario Gabane by Clemencio
Gabane
6852! PROOF of Claim Form For Summary Execution Victims by Ben Kasan and Farida
i Guiamadil by Menting Ali
6853 PROOF of Claim Form For Summary Execution Victims by Sabaniya Abedin by Bansilan
Abedin
6854) PROOF of Claim Form For Summary Execution Victims by Sulaiman Talibonbong by
Akad Matog
6855, PROOF of Claim Form For Summary Execution Victims by Luminada Malingin
6856! PROOF of Claim Form For Summary Execution Victims by Efren B. Almaden by Elpedio
A. Sullano
! 6857 | PROOF of Claim Form For Summary Execution Victims by Leo C. Alto by Amado
Bonifacio Alto and Luzviminda C. Alto
6858; PROOF of Claim Form For Summary Execution Victims by Ekid Bansilan, Omal
Bansilan and Kantua Bansilan by Tunggol Sambutol
6859, PROOF of Claim Form For Summary Execution Victims by Cipriano 0. Mabilangan
6860 | PROOF of Claim Form For Summary Execution Victims by Segundo Miranda by Angela

E. Miranda
6861/ PROOF of Claim Form For Summary Execution Victims by Lourdes H. Mabilangan by

Rosario M. Dabuet

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May 6 (6862 PROOF of Ciaim Form For Summary Execution Victims by Bienvenido 0. Noble by
Benita U. Noble

6863 PROOF of Claim Form For Summary Execution Victims by Isaac C. Descanzo by
Calicana D. Evaristo

PROOF of Claim Form For Torture Victims by Herminigilda Bernardino Valiente,

Deceased by Juanito B. Valiente /
6865 | PROOF of Claim Form For Torture Victims by Juan A. Valiente, Deceased by Juanito q
8%. Valiente

6866 PROOF of Claim Form For Torture Victims by Madatu A. Maso

6867 PROOF of Claim Form For Torture Victims by Victor B. Planas

6868 . PROOF of Claim Form For Torture Victims by Toribio L. Robles, Jr.

-6869 PROOF of Claim Form For Torture Victims by Benigno Pagallaman

.6870 PROOF of Claim Form For Torture Victims by Fermin L. Gonzales, Deceased by
Michaela S. Gonzales

6871 PROOF of Claim Form For Torture Victims by Olido Ledesma

6872 PROOF of Claim Form For Torture Victims by Jaime Arestor

(6873 (PROOF of Claim Form For Torture Victims by Exequiel Dioquino, Jr.

6874 | PROOF of Claim Form For Torture Victims by Salvador L. Girado

6875 | PROOF of Claim Form For Torture Victims by Alfredo Dagoro, Deceased by Anacita
T. Dagoro

6876 | PROOF of Claim Form For Torture Victims by Antonio Festino

6877 | PROOF of Claim Form For Torture Victims by Rodolfo A. Acueza

6878 | PROOF of Claim Form For Torture Victims by Alberto B. Serondo

6879 PROOF of Claim Form For Torture Victims by Ernesto Gidit

6880 | PROOF of Claim Form For Torture Victims by Nardito G. Buiza

/6831 | PROOF of Claim Form For Torture Victims by Apolonio Albania

6882 | PROOF of Claim Form For Torture Victims by Alfredo 8. Bacalso

6883 PROOF of Claim Form For Torture Victims by Danilo Coranacion, Deceased by Petra
Nace Coronacion

,6884 | PROOF of Claim Form For Torture Victims by Ireneo B. Lopez

(6885 | PROOF of Claim Form For Torture Victims by Merlinda Esil
6886 | PROOF of Claim Form For Torture Victims by Romeo Hiligad é
6887 PROOF of Claim Form For Torture Victims by Helario Ramos

6888 | PROOF of Claim Form For Torture Victims by Benjamin Suerte

/6889 | PROOF of Claim Form For Torture Victims by Laurencio Lopez. Sr.

(6890 | PROOF of Claim Form For Torture Victims by Virginia L. Hiligao

6891 | PROOF of Claim Form For Torture Victims by Jesus Alberca

6892 PROOF of Claim Form For Torture Victims by Karding Kasuyo, Deceased by Sampao P.

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6893 | PROOF of Claim Form For Torture Victims by Gonzalo B. Rizare

6894 | PROOF of Claim Form For Torture Victims by Herminio P. Batongbacal

6895 PROOF of Claim Form For Torture Victims by Wilfredo Hebres

6896 | PROOF of Claim Form For Torture Victims by Rafael Relanes

6897 | PROOF cf Claim Form For Torture Victims by Alberto B. Serono

6898 | PROOF of Claim Form For Torture Victims by Loreto Terrenal

6899 PROOF of Claim Form For Torture Victims by Epifania Erive

6900 PROOF of Claim Form For Torture Victims by Juan Galma

6901 | PROOF of Claim Form For Torture Victims by Jose Hernandez

6902 | PROOF of Claim Form For Torture Victims by Dominggo Busa, Deceased by Rosalina

Busa

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6904 PROOF of Claim Form For Torture Victims by Jaime Areston
6905 PROOF of Claim Form For Torture Victims by Lagrimas 0. Crisanto, Deceased by
Marlori G. Gotoman -
6906; PROOF of Claim Form For Torture Victims by Rufino Pomareias, Deceased by Emilina.
C. Pamare jas
6907) PROOF of Claim Form For Torture Victims by Winefredo A. Rivera, Deceased by Anita
@ | C. Rivera
6908! PROOF of Claim Form For Torture Victims by Delia T. Salazar
6909, PROOF of Claim Form For Torture Victims by Gregorio M. Perez

6910} PROOF of Claim Form For Torture Victims by Lourdes Marina P. Padilla
6911 PROOF of Claim Form For Torture Victims by Victoriano 0. Nunez
6912, PROOF of Claim Form For Torture Victims by Jesus Tellor
6913| PROOF of Claim Form For Torture Victims by Ildefonso Mahinay, Deceased by Elesio.
Lauron :
6914 PROOF of Claim Form For Torture Victims by Antonio M. Aldia
6915| PROOF of Claim Form For Torture Victims by Valentina Oblepias Delgado
6916; PROOF of Claim Form For Torture Victims by Norman G. Patricio
6917! PROOF of Claim Form For Torture Vietims by Guillerma L. Pelare
6918| PROOF of Claim Form For Torture Victims by Nelson N. Ladiao
6919 PROOF of Claim Form For Torture Victims by Said Maminto
6920, PROOF of Claim Form For Torture Victims by Maliyam Langongan
6921] PROOF of Claim Form For Torture Victims by Ereve Redentor
6922; PROOF of Claim Form For Torture Victims by Dominggo Bena, Deceased by Rosalina
Bena
6923| PROOF of Claim Form For Torture Victims by Irinio M. Lingcaton, Deceased by
Loreto Motong Lingcaton
6924 PROOF of Claim Form For Torture Victims by Meinrado P. Paredes
6925) PROOF of Claim Form For Torture Victims by Anotnio Fioline
6926} PROOF of Claim Form For Torture Victims by Datun Mamam, Deceased by Kalima Mamam
6927} PROOF of Claim Form For Torture Victims by Renato Hamof
6928; PROOF of Claim Form For Torture Victims by Roger Feolino
6929) PROOF of Claim Form For Torture Victims by Haide Feolino
6930; PROOF of Claim Form For Torture Victims by Nelia Areston
6931) PROOF of Claim Form For Torture Victims by Fortunato Hebres
6932| PROOF of Claim Form For Torture Victims by ALberto Ariston
6933] PROOF of Claim Form For Torture Victims by Efignia Laureta, Deceased by Domingo
G. Laureta
6934, PROOF of Claim Form For Torture Victims by Nena Gipit
6935) PROOF of Claim Form For Torture Victims by Mary Ann Givero Ballestra
6936; PROOF of Claim Form For Torture Victims by Maria Llacor Abril
6937| PROOF of Claim Form For Torture Victims by Jethro C. Dionisio
6938) PROOF of Claim Form For Torture Victims by Pedro C. Mabag
69391 PROOF of Claim Form For Torture Victims by Vicente Pomarejos, Deceased by
Agripena C. Pomare jos
6940, PROOF of Claim Form For Torture Victims by Benjamin Gabelo Gibaga
6941| PROOF of Claim Form For Torture Victims by Amparo G. Foster, Deceased by Amparo

G. Balanta
6942) PROOF of Claim Form For Torture Victims by Bernardo Agnote, Deceased by Antonio

Agnote
6943| PROOF of Claim Form For Torture Victims by Jimmy Gayon

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May 7 ©6944 PROOF of Claim Form For Torture Victims by Honesto Binas
6945 PROOF of Claim Form For Torture Victims by Felix Gardoque Garra, Deceased by
: Perla Garra Binas
/ 6946 | PROOF of Claim Form For Torture Victims by Roland Garofil Binas
| 6947 PROOF of Claim Form For Torture Victims by Perla Garro Binas
6948 | PROOF of Claim Form For Torture Victims by Manuel C. Maderazo |
6949 PROOF of Claim Form For Torture Victims by Luisa T. Enriques
6950 PROOF of Claim Form For Disappearance Victims by Hamsa Blah by Norma Blah q
6951 PROOF of Claim Form For Disappearance Victims by Manap Blah by Mila Blah
6952 PROOF of Claim Form For Disappearance Victims by Katungao Engkiang by Len
Engkiang
(6953 PROOF of Claim Form For Disappearance Victims by Felomina Gobis by Pedro Gobis
6954 PROOF of Claim Form For Disappearance Victims by Kasan P. Abdul.
6955 PROOF of Claim Form For Disappearance Victims by Kasain P. Abdul
-6956 PROOF of Claim Form For Disappearance Victims by Falera Masukat by Bai Kubaid
Masukat
6957 | PROOF of Claim Form For Disappearance Victims by Norudin P. Abdul by Kasan P.
: Abdul
6958 . PROOF of Claim Form For Disappearance Victims by Rolando C. Venturillo by Perlita

} Venturillo Rizare
(6959 > PROOF of Claim Form For Disappearance Victims by Bai Puti Guiampaca by Ambai Hadji

f Mohammad
6960 PROOF of Claim Form For Disappearance Victims by Sally Guiampaca by Ambal Hadji
Mohammad
/ 6961 PROOF of Claim Form For Disappearance Victims by Mamot Guiampaca by Ambal Had ji
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i 6962 | PROOF of Claim Form For Disappearance Victims by Maitum Guiampaca by Ambai Hadji
Mohammad
6963 | PROOF of Claim Form For Disappearance Victims by Federico P. Quitano by Anita C.
Rivera
6964 PROOF of Claim Form For Disappearance Victims by Tucan Samama by Mamdangkong Samaina
6965 | PROOF of Claim Form For Disappearance Victims by Mukamad Kasim
6966 | PROOF of Claim Form For Disappearance Victims by Sandatu Abas by Hadji Abdulkarim é
Abas

6967 | PROOF of Claim Form For Disappearance Victims by Kamal Ducan by Sambuto Kusain
6968 PROOF of Claim Form For Disappearance Victims by Kaligatong Dagadas by Tato
Sambutuan

6969 PROOF of Claim Form For Disappearance Victims by Bonifacio Dinglasan by Juano de
Rosas Pinglasan

6970 | PROOF of Claim Form For Disappearance Victims by Ben-Hur D. Hilotin

$971 | PROOF of Claim Form For Disappearance Victims by Sangs Abo by Daisy Abo

6972 | PROOF of Claim Form For Disappearance Victims by Fidel Esternon

6973 | PROOF of Claim Form For Disappearance Victims by Dominador Canelas

6974 , PROOF of Claim Form For Disappearance Victims by Amado Gratil by Marina Gratil
6975 | PROOF of Claim Form For Disappearance Victims by Armando Gayon

6976 | PROOF of Claim Form For Disappearance Victims by Jaime Balanta

6977 | PROOP of Claim Form For Disappearance Victims by Ansilmo Balanta

6978 PROOF of Claim Form For Disappearance Victims by Rufino Binas by Cligana Binas
6979 | PROOF of Claim Form For Disappearance Victims by Ruben V. Pangan

6980 | PROOF of Claim Form For Disappearance Victims by Delfin Gazo by Maria Gazo
6981 | PROOF of Claim Form For Disappearance Victims by Gregorio Balanta

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- 6983! PROOF of Claim Form For Summary Execution Victims by Matog 3. Ambas by Mando

i Bernan

| 6984 PROOF of Claim Form For Summary Execution Victims by Santos Ma tog by Mando Berne

_ 6985) PROOF of Claim Form For Summary Execution Victims by Manguntol Matog by Mando

: Sernan

6986 PROOF of Claim Form For Summary Execution Victims by Udtog Ali by Ali Kasan

| 6987| PROOF of Claim Form For Summary Execution Victims by Pagadilan Laguiawan by

Nida S. Mamokhan

, 6988) PROOF of Claim Form For Summary Execution Victims by Pilandok Gambayan by Nida

S. Mamokhan

i PROOF of Claim Form For Summary Execution Victims by Api Andig by Monib A. Mama

6990) PROOF of Claim Form For Summary Execution Victims by Mayol S$. Tungao by Mohammad

8. Tungao

/ 6991, PROOF of Claim Form For Summary Execution Victims by Zacaria Tungao and Mariam

i U. Tungao by Mohammad S. Tungao

. 6992 PROOF of Claim Form For Summary Execution Victims by Carlita Domingo Sarile by

: Luaviminda 8. Sarile

, 6993: PROOF of Claim Form For Summary Execution Victims by Bnejamem Suyat by Margarita

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e | 6994, PROOF of Claim Form For Summary Execution Victims by Paisal Lunda by Blah Lunda
6995| PROOF of Claim Form For Summary Execution Victims by Abdullah Guialudin by Amilil
Guialudin

69961 PROOF of Claim Form For Summary Execution Victims by Reynaldo L. Robles by Toribé
L. Robles, Jr.

6997| PROOF of Claim Form For Summary Execution Victims by Puti Omar by Hadji Reah Omar
| 6998) PROOF of Claim Form For Summary Execution Victims by Bagunto Korekan by Hadji
Sain Abdulkarim
6999] PROOF of Claim Form Fort Summary Execution Victims by Ibrahim Ukas by Rudy M. Ukas
7000! PROOF of Claim Form For Summary Execution Victims by Akmad Ukas by Rudy M. Ukas
7001; PROOF of Claim Form For Summary Execution Victims by Noraisa Adam by Abdulmanan

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@ 7002) PROOF of Claim Form For Summary Execution Victims by Acoban Cormat by Saphyla A. |
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7003) PROOF of Claim Form For Summary Execution Victims by Mostapa Kobpo by Abdula i

Kobpo

; 7004) PROOF of Claim Form For Summary Execution Victims by Nelson 8. Daganasol

7005| PROOF of Claim Form For Summary Execution Victims by Alsa Pindi by Cabili Pindi
7006; PROOF of Claim Form For Summary Execution Victims by Doroteo P. Simon by Nieves

E. Simon

7007] PROOF of Claim Form For Summary Execution Victims by Tuing Matog by Totin
Cadolong

7008, PROOF of Claim Form For Summary Execution Victims by Pablo M. Bubas by Noel
Bubas

7009} PROOF of Claim Form For Summary Execution Victims by Tinggon Mupak Andig by
Monib A. Mama
7010] PROOF of Claim Form For Summary Execution Victims by Mentang Abidin by Macabanger

Samama
7011} PROOF of Claim Form For Summary Execution Victims by Edzag Amirol & Ali Menandang

Dati Israel A. Amirol
7012| PROOF of Claim Form For Summary Execution Victims by Isa Ibrahim by Nida S.

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i ' 7015 PROOF of Claim Form For Summary Execution Victims by Ondek Gumander by Yshrael S./
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-7016 | PROOF of Claim Form For Summary Execution Victims by Sawad M. Laguiawan by Nida
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7017 PROOF of Claim Form For Summary Execution Victims by Luis L. Adam by Nida §.
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7018 PROOF of Claim Form For Summary Execution Victims by Batuling Gumander by Yshrael
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7019 | PROOF of Claim Form For Summary Execution Victims by Esmael M. Alamada by Ali
Alamada
7020 | PROOF of Claim Form For Summary Execution Victims by Bucacong Kusain by Asi
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7021 | PROOF of Claim Form For Summary Execution Victims by Mando Sain by Hadji Sain
: Abdulkarim
7022 PROOF of Claim Form For Summary Execution Victims by Dima Sain by Hadji Sain
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| Abdullah Sulaiman Bagklid
17025 | PROOF of Claim Form For Summary Execution Victims by Balaiman Hadji Abdulkarim by

/ Abdulmama Hadji Abdulkarim Balaiman

| 7026 | PROOF of Claim Form For Summary Execution Victims by Sayakolo Tomagantang by

| Muslimin Tomagantang

7027 | PROOF of Glaim Form For Summary Execution Victims by Kasang Langalen and Kalanda
: Mama by Deding Kasan

7028 | PROOF of Claim Form For Summary Execution Victims by Kadil Dimampao by Salandang

i L. Dimampao
| 7029 | PROOF of Claim Form For Summary Execution Victims by Sumama Matog by Salik Magawan

7030 | PROOF of Claim Form For Summary Execution Victims by Ibrahim Damalan by Mangadsa

Damalan

/7031 | PROOF of Claim Form For Summary Execution Victims by Dubpaieg Kusain by Sambuto

Kusain

7032 | PROOF of Claim Form For Summary Execution Victims by Abas Mamasalagat by Magandatao

Mamasalagat

'7033 PROOF of Claim Form For Summary Execution Victims by Mama Ladiasan by Brando

| Ladiasan

7034 | PROOF of Claim Form For Summary Execution Victims by Tambak Sandigan by Tautin
Tambak

/7035 | PROOF of Claim Form For Summary Execution Victims by Edsrapil Mamasalagat by

| Pasindikan Mamasalagat

7036 | PROOF of Claim Form For Summary Execution Victims by Carpenter Abdula by Abiden
Abdula

7037 | PROOF of Claim Form For Summary Execution Victims by Sulaiman U. Kugong by
Abdullah Sulaiman Bagklid

7038 | PROOF of Claim Form For Summary Execution Victims by Leonora Caracol by Pablita

C. Rabanes

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7040) PROOF of Claim Form For Summary Execution Victims by Mandongan Basque by Ismaei
Mama Salagat .
7041; PROOF of Claim Form For Summary Execution Victims by Patok Kepes by Kampua Kepes
7042| PROOF of Claim Form For Summary Execution Victims by Siawan Magapisa by Lomabao
Magapisa
7043 PROOF of Claim Form For Summary Execution Victims by Lilia Centino by Gina Cc.
Torres
7044 | PROOF of Claim Form For Summary Execution Victims by Nesario G. Teilor by Juliete
B. TeLllor
7045 PROOF of Claim Form For Summary Execution Victims by Enopre D. Centino by Rosita
L. Centino
7046 | PROOF of Claim Form For Summary Execution Victims by Merlita Caracol by Pablita
C, Rabanes
7047 PROOF of Claim Form For Summary Execution Victims by Rogelio Lumayaga by Armando
Lumayaga
7048 PROOF of Claim Form For Summary Execution Victims by Bakar Ayuman by Akmad Bakar
7049) PROOF of Claim Form For Summary Execution Victims by Salimama Anggan by Lakiman
A. Tingli
7050) PROOF of Claim Form For Summary Execution Victims by Mame Magapisa by Lumabao
Magapisa
705i) PROOF of Claim Form For Summary Execution Victims by Singapor H. Abdulgani by
Pedra Bantas
7052} PROOF of Claim Form For Summary Execution Victims by Alilaya Sagansan by Piang
Alilaya
7053 | PROOF of Claim Form For Summary Execution Victims by Alim Maslamama by Bayan
Mas lamama
7054 | PROOF of Claim Form For Summary Execution Victims by Ali Dilimpongan by Amil
Mas lamama i
7055 | PROOF of Claim Form For Summary Execution Victims by C'lo Guiabal by Guiamalodin |
Guiabal
S 7056 | PROOF of Claim Form For Summary Execution Victims by Enggobala Samayatin by
Guiamalodin Guiabal
7057 | PROOF of Claim Form For Summary Execution Victims oy Zumakil Kinda by Bero Kinda
7058 | PROOF of Claim Form For Summary Execution Victims by AKmad Mauyag by Kadil Mauyag
7059 | PROOF of Claim Form For Summary Execution Victims by Nasa Bangon by Jainudin
Bangon
7060 | PROOF of Claim Form For Summary Execution Victims by Salig Guinamoay by Erlinda
Guinamoay
7061 | PROOF of Claim Form For Summary Execution Victims by W. Lorenzo by Nancy Lorenzo
7062 | PROOF of Claim Form For Summary Execution Victims by Kuko Guiaman by Hadji Salik
Palanggalan
7063 | PROOF of Claim Form For Summary Execution Victims by Maliga Guiaman by Hadji Salik
Palanggalan
7064 PROOF of Claim Form For Summary Execution Victims by Sergio Macabenta by Deo P.
Macabenta
7065 | PROOF of Claim Form For Summary Execution Victims by Datu Matawalang Ala Amirol
and Datu Macadagal Ala Amirol by Datu Israel A. Amirol
7066 | PROOF of Claim Form For Summary Execution Victims by Datu Tiliban S. Mamadra by
Candelaria R. Mamadra
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PROCEROINGS

DATE NR.

May 7 7067 : PROOF of Claim Form Fer Summary Execution Victims by Abdulrahman Sugadol by
= Saguira Sugadol
.7068 PROOF of Claim Form For Summary Execution Victims by Samiana Mamad by Amilel Mamad
7069 / PROOF of Claim Form For Summary Execution Victims by Sukarno Kepat by Abid Guiabe]
7070 | PROOF of Claim Form For Summary Execution Victims by Restituto H. Esternon by
: Fidel Esternon
7071 PROOF of Claim Form For Summary Execution Victims by Wilfredo Lorenzo by Nanacy
Lorenzo é
/7072 . PROOF of Claim Form For Summary Execution Victims by Kamad Gindo by Bikuar Adam
'7073 > PROOF of Claim Form For Summary Execution Victims by Saidali Kasan by Sindisan

Tukan
(7074 | PROOF of Claim Form For Summary Execution Victims by Sambutuan Domasil by Edslapil

: Domasil
7075 § PROOF of Claim Form For Summary Execution Victims by Edwin Sabdula Alagasi by

: =: Ondoma Sabdula
7076 | PROOF of Claim Form For Summary Execution Victims by Samad Mukamad by Hadii Salik

Palanggalan

17077 ; PROOF of Claim Form For Summary Execution Victims by Kadil Mukammad by Hadji Salik
Palanggalan

/7078 PROOF of Claim Form For Summary Execution Victims by Takanday B. Sulaiman by

Abdullah Sulaiman Babklid «q

7079 | PROOF of Claim Form For Summary Execution Victims by Pao Mama by Mama Unda
(7080 PROOF of Claim Form For Summary Execution Victims by Kalantungan Malaguia by
Malaguia Budsal

(7081 | PROOF of Claim Form For Summary Execution Victims by Boted Acbar by Saphyla A.
Diabal

/7082 | PROOF of Claim Form For Summary Execution Victims by Kamid B. Sulaiman by Abdul lalh
! Sulaiman Babklid

7083 PROOF of Claim Form For Summary Execution Victims by Pedro Garados

PROOF of Claim Form For Torture Victims by Bulawan A. Buna
PROOF of Claim Form For Torture Victims by Diosdado Mias

PROOF of Claim Form For Torture Victims by Rodito G. Givero <q
PROOF of Claim Form For Torture Victims by Rogelio E. Encinas

PROOF of Claim Form For Torture Victims by Maria Fe Marfil

PROOF of Claim Form For Torture Victims by Remegio P. Soriano

7090 | PROOF of Claim Form For Torture Victims by Teotimo A. Llarenas

7091 | PROOF of Claim Form For Torture Victims by Dominador H. Montiagodo by Aurora
Montiagodo

7092 | PROOF of Claim Form For Torture Victims by Rogelio de Leon

7053 | PROOF of Claim Form For Torture Victims by Leo A. Santillan

'7094 » PROOF of Claim Form For Torture Victims by Teofilo R. Juatco

7095 'PROOF of Claim Form For Torture Victims by Jose B. Soriano, Deceased by Ner P.
Soriano

7096 | PROOF of Claim Form For Torture Victims by Cresencia M. Mabansag

7097 | PROOF of Claim Form For Torture Victims by Margatito Sultan

7098 PROOF of Claim Form For Torture Victims by Antonio R. Gamut

7099 PROOF of Claim Form For Torture Victims by Fernando Rapada

7100 PROOF of Claim Form For Torture Victims by Manuel M. Contreras

7101 | PROOF of Claim Form For Torture Victims by Antonio Cabanggunay

7102 | PROOF of Claim Form For Torture Victims by Ponciano Ocasla, Deceased by Mercedes

Ocasla

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May 10 (7103 |PROOF of Claim Form For Torture Victims by Produlo Labamo
7104 PROOF of Claim Form For Torture Victims by Luciano Gacuma
7105 . PROOF of Claim Form For Torture Victims by Iki Jose Peleno, Deceased by Danilo
Peleno :
7106 |PROOF of Claim Form For Torture Victims by Domingo Pindos
7107 | PROOF of Claim Form For Torture Victims by Lite Dante Cabildo
7108 |PROOF of Claim Form For Torture Victims by Ramon C. Mostel
@ 7109 PROOF of Claim Form For Torture Victims by Marino C. Jefferson
7110 /PROOF of Claim Form For Torture Victims by Melcher Egagamao
“ill |PROOF of Claim Form For Torture Victims by Leopoldo C, Bimalaluan
7112 PROOF of Claim Form For Torture Victims by Gerry P. De Guzman
7113 PROOF of Claim Form For Torture Victims by Pelagio Basada
7114 (PROOF of Claim Form For torture Victims by Efren M. Cabanig
7115 | PROOF of Claim Form For Torture Victims by Virgilio Ihara and Ruben Sumpat by Nile
Nicolas
7116 (PROOF of Claim Form For Torture Victims by Archie S. Baribar
711? PROOF of Claim Form For Torture Victims by Alexander M. Ilagan
7118 PROOF of Claim Form For Torture Victims by Carlito M. Pacumio
7119 |/PROOF of Claim Form For Torture Victims by Rodante Pasco. Sr., Deceased by Felicia

L. Pasco
© 7120 (PROOF of Claim Form For Torture Victims by Blas V. Mandclado
7121 |PROOF of Claim Form For Torture Victims by Leonardo G. Tisoy
7122 (PROOF of Claim Form For Torture Victims by Neneta Funglas
7123 PROOF of Claim Form For Torture Victims by Edna U. Angeajas, Deceased by Jesusa UL:
Angcajas :
7124 PROOF of Claim Form For Torture Victims by Orlando D. Calle
7125 |/PROOF of Claim Form For Torture Victims by Concepcion Dijarlo Ariston
7126 |PROOF of Claim Form For Torture Victims by Ricardo T. Catotocan
7127 PROOF of Claim Form For Torture Victims by Nathan Gilbert F. Quimpo
7128 ‘PROOF of Claim Form For Torture Victims by Quirino Talaman
7129 |PROOF of Claim Form For Torture Victims by Roberto T. Braulio
7130 (PROOF of Claim Form For Torture Victims by Antonio Lentejas Cabardo, Deceased by
@ Rumia Inez 5. Velarde
7131 (PROOF of Claim Form For Torture Victims by Esmeraldo M. Santos, Jr.
7132 |PROOF of Claim Form For Torture Victims by Felipe P. Clorado and Escolastica
CLorado by Ruben C. Clorado
7133 |PROOF of Claim Form For Torture Victims by Eduviguis Hagupit
7134 (PROOF of Claim Form For Torture Victims by Antinioc Hebres
7135 |PROOF of Claim Form For Torture Victims by Anastacio Gimao
7136 |PROOF of Claim Form For Torture Victims by Rosito Canelas, Deceased by Felicitan
Canelas
7137 |PROOF of Claim Form For Torture Victims by Benjamin Dugan Reblora
7138 PROOF of Claim Form For Torture Victims by Lionora G. Catuday
7139 PROOF of Claim Form For Torture Victims by Vicente Raquion
7140 |PROOF of Claim Form For Torture Victims by Nelson B. Hajas
7141 |PROOF of Claim Form For Torture Victims by Nenita R. Hermo
7142 (PROOF of Claim Form For Torture Victims by Romualdo D. Mallillin
7143 [PROOF of Claim Form For Torture Victims by Renato P. Pancipane
7144 |PROOP of Claim Form For Torture Victims by Oscar V. Erro
7145 PROOF of Claim Form For Torture Victims by Gerardo Tocama, Sr.
7146 [PROOF of Claim Form For Torture Victims by Pio G. Pancipane
7147 (PROOF of Claim Form For Torture Victims by Herminigildo T. Florida

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PLAINTIFE SBFENSANT

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DATE NR

i999;
May 10 7148 PROOF of Claim Form For Torture Victims by Jose Bultron y Gatacelo, Deceased by
i : Rosario G. Sacopan
7149 | PROOF of Claim Form For Torture Victims by Caridad Borromeo y Gelotin
7150 PROOF of Claim Form For Torture Victims by Eulalio A. Cadiz
7151 | PROOF of Claim Form For Torture Victims by Maria Firmanes Madronio, Deceased by
Amalia M. Angeles
7152 PROOF of Claim Form For Torture Victims by Anastacio C. Gabriel
47153 | PROOF of Claim Form For Torture Victims by Jovito Sequitin €
(7154 PROOF of Claim Form For Torture Victims by Maria D. Fugen
7155 PROOF of Claim Form For Torture Victims by Henry G. Evasco
. 7156 | PROOF of Claim Form For Torture Victims by Salvacion Firmanes
'7157 ; PROOF of Claim Form For Torture Victims by Fe C. Navales
7158 | PROOF of Claim Form For Torture Victims by Se villiano Geografo, Deceased by
Estrellla G. Gatacelo
/7159 PROOF of Claim Form For Torture Victims by Antonio Lentejas Cabardo, Deceased by
: Rumia Inez §. Velarde
.7160 PROOF of Claim Form For Torture Victims by Florencio C. De Guzman
7161 PROOF of Claim Form For Torture Victims by Edilberto S. Lumabi
7162 | PROOF of Claim Form For Torture Victims by Jose Duran
7163 PROOF of Claim Form For Torture Victims by Catalino L. Arroyo
7164 / PROOF of Claim Form For Torture Victims by Jose Mar T. Balena
7165 | PROOF of Claim Form For Torture Victims by Constancia M. Calubid
7166 | PROOF of Claim Form For Torture Victims by Isidro F. Galarosa
7167 : PROOF of Claim Form For Torture Victims by Luis Galpa, $Sr.
(7168 | PROOF of Claim Form For Torture Victims by Emiliario De Los Santos
7169 | PROOF of Claim Form For Torture Victims by Roque G. Enteria
7170 | PROOF of Claim Form For Torture Victims by Crispen F. Gabionza, Deceased by
Yolanda Gabionza
7171 | PROOF of Claim Form For Torture Victims by Edgon Fugen, Deceased by Elme D. Fugen
7172 . PROOF of Claim Form For Torture Victims by Mario Delgado, Deceased by Emerencina
: G. Delgado
7173 | PROOF of Claim Form For Torture Victims by Arturo G. Gacorta, Deceased by
Clemencia Gallor
/ 4174 | PROOF of Claim Form For Torture Victims by Eliseo Fuga, Deceased by Salvacio Fuga
.7175 | PROOF of Claim Form For Torture Victims by Pedro G. Garrote
| 7176 | PROOF of Claim Form For Torture Victims by Salvador M. Jorque
7177 | PROOF of Claim Form For Torture Victims by Prime Gapas, Jr.
7178 | PROOF of Claim Form For Torture Victims by Emilio Fesnido
7179 | PROOF of Claim Form For Torture Victims by Wilfren Fulong, Deceased by Nelia
Fulong
7180 | PROOF of Claim Form For Torture Victims by Abraham Fulong
7181 | PROOF of Claim Form For Torture Victims by Eustaquio Fulong, Deceased by Victoria
Vda. De Fulong
7182 | PROOF of Claim Form For Torture Victims by Arturo L. Garcia
7183 | PROOF of Claim Form For Torture Victims by Alberto Criston
7184 | PROOF of Claim Form For Torture Victims by Ruel D. Villasor, Jr., Deceased by
Lourdes D. Villasor
7185 | PROOF of Claim Form For Torture Victims by Julio B. Calubid, Sr.
7186 | PROOF of Claim Form For Torture Victims Sy Arturo Lao-Ang Garcia
7187 | PROOF of Claim Form For Torture Victims by Edwin S. Veluz

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